                            Case 23-10207-TMH             Doc 400        Filed 06/26/23        Page 1 of 6


                                   IN THE UNITED STATES BANKRUPTCY COURT
                                        FOR THE DISTRICT OF DELAWARE


             In re                                                               Chapter 11

             STANADYNE LLC, et al.,1                                             Case No. 23-10207 (TMH)

                              Debtors.                                           (Jointly Administered)

                                                                                 Cure Obj. Deadline: July 6, 2023 at 5:00 p.m. (ET)

                                                                                 Re: Docket Nos. 245, 276 & 297

             SUPPLEMENTAL NOTICE TO CONTRACT PARTIES TO POTENTIALLY ASSUMED,
               ASSIGNED, AND SOLD EXECUTORY CONTRACTS AND UNEXPIRED LEASES

                          YOU ARE RECEIVING THIS NOTICE BECAUSE YOU
                      OR ONE OF YOUR AFFILIATES IS A COUNTERPARTY TO AN
                  EXECUTORY CONTRACT OR UNEXPIRED LEASE WITH ONE OR MORE
                  OF THE DEBTORS AS SET FORTH ON EXHIBIT A ATTACHED HERETO.

               PLEASE TAKE NOTICE that, on April 27, 2023, the above-captioned debtors and debtors
       in possession (collectively, the “Debtors”) filed the Debtors’ Motion for Entry of: (A) an Order
       (I) Scheduling a Hearing on the Approval of the Sale of All or Substantially All of the Debtors’ Assets
       Free and Clear of All Encumbrances Other Than Assumed Liabilities and Permitted Encumbrances,
       and the Assumption and Assignment of Certain Executory Contracts and Unexpired Leases,
       (II) Approving Certain Bidding Procedures and Assumption and Assignment Procedures, and the
       Form and Manner of Notice Thereof, (III) Authorizing the Debtors to Enter Into the Stalking Horse
       Purchase Agreement, and (IV) Granting Related Relief; and (B) an Order (I) Approving Asset
       Purchase Agreement, (II) Authorizing the Sale of All or Substantially All of the Debtors’ Assets Free
       and Clear of All Encumbrances Other Than Assumed Liabilities and Permitted Encumbrances,
       (III) Authorizing the Assumption and Assignment of Certain Executory Contracts and Unexpired
       Leases, and (IV) Granting Related Relief [Docket No. 245] (the “Sale Motion”).

               PLEASE TAKE FURTHER NOTICE that, on May 16, 2023, the United States Bankruptcy
       Court for the District of Delaware (the “Court”) entered the Order (I) Approving Bidding Procedures,
       (II) Scheduling an Auction and a Sale Hearing, (III) Approving the Form and Manner of Notice
       Thereof, (IV) Establishing Notice and Procedures for the Assumption and Assignment and Sale of
       Contracts and Leases, and (V) Granting Related Relief [Docket No. 276] (the “Bidding Procedures
       Order”)2 authorizing, among other things, the Debtors to solicit bids for the purchase of the Debtors’
       Assets.

       1.
             The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax identification
             number are: Stanadyne LLC (0378); Pure Power Technologies, Inc. (5202); Stanadyne PPT Holdings, Inc. (2594);
             and Stanadyne PPT Group Holdings, Inc. (1734). The Debtors’ headquarters are located at 405 White Street,
             Jacksonville, North Carolina 28546.
       2
             Capitalized terms used in this notice but not otherwise herein defined have the meanings given to such terms in the
             Bidding Procedures Order or Bidding Procedures, as applicable. To the extent of any inconsistencies between this
             notice and the Bidding Procedures Order, the Bidding Procedures Order shall govern in all respects.
30495410.2
                           Case 23-10207-TMH             Doc 400   Filed 06/26/23       Page 2 of 6



               PLEASE TAKE FURTHER NOTICE that the Debtors did not receive any Qualified Bids
       other than the bid from the Stalking Horse Bidder prior to the Bid Deadline and, as a result, the sole
       Successful Bidder is the Stalking Horse Bidder, Stanadyne Operating Company LLC (formerly
       known as S-PPT Acquisition Company LLC) [Docket No. 394].

               PLEASE TAKE FURTHER NOTICE that on May 23, 2023, the Debtors filed the Notice
       to Contract Parties to Potentially Assumed, Assigned, and Sold Executory Contracts and Unexpired
       Leases [Docket No. 297] (the “Initial Cure Notice”). Exhibit A to the Initial Cure Notice was
       amended on May 24, 2023 to reflect revised Cure Costs for the Potential Assigned Contract identified
       therein [Docket No. 306]. The Debtors hereby supplement the Initial Cure Notice to include the
       Potential Assigned Contracts identified on Exhibit A attached hereto.

               PLEASE TAKE FURTHER NOTICE that, pursuant to the Bidding Procedures and the
       terms of the Stalking Horse Purchase Agreement with the Stalking Horse Bidder, upon approval of
       the Sale, the Debtors may assume, assign, and sell to the Stalking Horse Bidder the contract, lease or
       agreement listed on Exhibit A to which you are a counterparty. The Debtors have conducted a
       review of their books and records and have determined that the cure amount for unpaid monetary
       obligations under the Potential Assigned Contracts is as set forth on Exhibit A attached hereto (the
       “Cure Costs”).

               PLEASE TAKE FURTHER NOTICE that if you disagree with the proposed Cure Cost
       identified with respect to a Potential Assigned Contract listed on Exhibit A, object to a proposed
       assignment of any Potential Assigned Contract to the Successful Bidder, or object to the ability of
       the Stalking Horse Bidder to provide adequate assurance of future performance with respect to any
       Potential Assigned Contract, your objection must be: (a) be in writing; (b) conform to the applicable
       provisions of the Bankruptcy Rules and the Local Rules; (c) state with particularity the nature of the
       objection and the legal and factual bases therefore and, if the objection pertains to the proposed Cure
       Cost(s), state the correct cure cost(s) alleged to be owed to the objecting contract counterparty,
       together with any applicable and appropriate documentation in support thereof; and (d) be filed with
       the Court and served so as to be actually received on or before July 6, 2023 at 5:00 p.m. (prevailing
       Eastern Time) by the following parties:

                           Counsel to the Debtors                           The United States Trustee
                        Hughes Hubbard & Reed LLP                       Office of the United States Trustee
                      One Battery Park Plaza, 16th Floor                    for the District of Delaware
                            New York, NY 10004                        844 King Street, Suite 2207, Lockbox 35
             Attn: Kathryn A. Coleman and Christopher Gartman,                Wilmington, DE 19801
                    katie.coleman@hugheshubbard.com,                           Attn: Jane M. Leamy
                     chris.gartman@hugheshubbard.com                         jane.m.leamy@usdoj.gov

                  Young Conaway Stargatt & Taylor, LLP
                          1000 North King Street
                              Rodney Square
                       Wilmington, DE 19801-6108
             Attn: Michael R. Nestor and Andrew L. Magaziner
                 mnestor@ycst.com, amagaziner@ycst.com
                        Counsel to the Committee                   Counsel to the Prepetition Agent and Stalking
                                                                                   Horse Bidder
                   Kramer Levin Naftalis & Frankel LLP                            KTBS Law LLP
                      1177 Avenue of the Americas                       1801 Century Park East, 26th Floor
                          New York, NY 10036                                   Los Angeles, CA 90067

30495410.2
                       Case 23-10207-TMH            Doc 400    Filed 06/26/23      Page 3 of 6


              Attn: Adam C. Rogoff and Rose Hill Bagley        Attn: Michael L. Tuchin and David A. Fidler
         arogoff@kramerlevin.com, rbagley@kramerlevin.com      mtuchin@ktbslaw.com, dfidler@ktbslaw.com

                          Morris James LLP                          Pachulski Stang Ziehl & Jones LLP
                  500 Delaware Avenue, Suite 1500                       919 Market St., 17th Floor
                        Wilmington, DE 19801                                  P.O. Box 8705
             Attn: Jeffrey R. Waxman and Eric J. Monzo         Wilmington, DE 19801-8705 (Courier 19801)
                     jwaxman@morrisjames.com,                  Attn: Laura Davis Jones and Timothy Cairns
                      emonzo@morrisjames.com                    ljones@pszjlaw.com, tcairns@pszjlaw.com

              PLEASE TAKE FURTHER NOTICE that the Debtors will seek approval of the Sale at a
       hearing scheduled to commence on or before July 10, 2023 at 10:00 a.m. (prevailing Eastern Time)
       (the “Sale Hearing”) before the Honorable Thomas M. Horan, United Sates Bankruptcy Judge for
       the Bankruptcy Court for the District of Delaware, at 824 North Market Street, Wilmington,
       Delaware 19801.

               PLEASE TAKE FURTHER NOTICE that if no objection to (a) the Cure Cost(s), (b) the
       proposed assignment, assumption, and sale of any Potential Assigned Contract, or (c) adequate
       assurance of the Successful Bidder’s ability to perform is filed by the applicable deadline, then (i) you
       will be deemed to have stipulated that the Cure Cost(s) listed on Exhibit A hereto is/are correct,
       (ii) you will be forever barred, estopped, and enjoined from asserting any additional cure amount
       under the Potential Assigned Contract, and (iii) you will be forever barred, estopped, and enjoined
       from objecting to such proposed assignment to the Successful Bidder on the grounds that the
       Successful Bidder has not provided adequate assurance of future performance as of the closing date
       of the Sale.

                PLEASE TAKE FURTHER NOTICE that any objection to the proposed assumption,
       assignment and sale of a Potential Assigned Contract or related Cure Cost that otherwise complies
       with these procedures yet remains unresolved as of the commencement of the Sale Hearing shall, in
       the Debtors’ discretion (subject to the consent of the Successful Bidder), be heard at the Sale Hearing
       or at a later date as may be fixed by the Court.

               PLEASE TAKE FURTHER NOTICE that, notwithstanding anything herein, the mere
       listing of any Potential Assigned Contract on Exhibit A shall not (i) require or guarantee that such
       Potential Assigned Contract will be assumed, assigned, and sold; and (ii) constitute or be deemed a
       determination or admission by the Debtors that such Potential Assigned Contract is an executory
       contract or unexpired lease within the meaning of the Bankruptcy Code.

              PLEASE TAKE FURTHER NOTICE that, notwithstanding the Cure Cost(s) listed on
       Exhibit A hereto, the Debtors are continuing to reconcile their books and records as to the Potential
       Assigned Contracts and all rights of the Debtors and the Successful Bidder with respect to the
       Potential Assigned Contracts are reserved.

               PLEASE TAKE FURTHER NOTICE that, the Cure Costs listed on Exhibit A hereto do
       not include any obligations under any customer “core” refund program as such obligations do not
       constitute Cure Costs and will be addressed separately in connection with the Sale and Stalking Horse
       Purchase Agreement.

               PLEASE TAKE FURTHER NOTICE that nothing herein (i) alters in any way the
       prepetition nature of any Potential Assigned Contract or the validity, priority, or amount of any claims

30495410.2
                      Case 23-10207-TMH         Doc 400      Filed 06/26/23    Page 4 of 6


       of a counterparty to any Potential Assigned Contract against the Debtors or the Successful Bidder
       that may arise under such Potential Assigned Contract, (ii) creates a postpetition contract or
       agreement, or (iii) elevates to administrative expense priority any claims of any counterparty to any
       Potential Assigned Contract against the Debtors that may arise under such Potential Assigned
       Contract.

       Dated: June 26, 2023                        YOUNG CONAWAY STARGATT &
              Wilmington, Delaware                 TAYLOR, LLP

                                                   /s/ Ashley E. Jacobs
                                                   Michael R. Nestor (DE Bar No. 3526)
                                                   Andrew L. Magaziner (DE Bar No. 5426)
                                                   Ashley E. Jacobs (DE Bar No. 5635)
                                                   1000 North King Street
                                                   Rodney Square
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                                                   Facsimile: (302) 571-1253
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                                                           amagaziner@ycst.com
                                                           ajacobs@ycst.com

                                                     -and-

                                                   Kathryn A. Coleman
                                                   Christopher Gartman
                                                   HUGHES HUBBARD & REED LLP
                                                   One Battery Park Plaza
                                                   New York, NY 10004-1482
                                                   Telephone: (212) 837-6000
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                                                   Counsel for the Debtors




30495410.2
             Case 23-10207-TMH   Doc 400   Filed 06/26/23   Page 5 of 6


                                   Exhibit A




30495410.2
                                                                Case 23-10207-TMH                  Doc 400                Filed 06/26/23             Page 6 of 6


Debtor Entities
Supplemental Cure List
($USD)




      Counterparty                                                      Cure Amount                  Debtor Entity                                      Description                                             Execution Date
   1. Autocam Precision Components Group of NN, Inc.                $                 -   Pure Power Technologies, Inc.       Memorandum of Understanding dated June 25, 2021 between       June 25, 2021
                                                                                                                              Pure Power Technologies and Autocam Precision Components
                                                                                                                              Group of NN, Inc
   2. Diesel Forward                                                $                 -   Pure Power Technologies, Inc.       Supply Agreement dated May 15, 2017 between Diesel Forward, May 15, 2017
                                                                                                                              Inc. and Pure Power Technologies, Inc., as amended by that
                                                                                                                              certain Amended and Restated Supply Agreement dated
                                                                                                                              November 31, 2018 between Diesel Forward, Inc. and Pure
                                                                                                                              Power Technologies, Inc., and by that certain Amendment no. 1
                                                                                                                              to Amended and Restated Supply Agreement dated March 15,
                                                                                                                              2020 between Diesel Forward, Inc. and Pure Power
                                                                                                                              Technologies, Inc.

                                                                                                                              Distributor Agreement dated June 1, 2022 between Diesel
                                                                                                                              Forward, Inc. and Pure Power Technologies, Inc.
   3. DIESEL FORWARD, INC.                                          $                 -   Stanadyne LLC                       Memorandum of Understanding dated December 22, 2021           December 22, 2021
                                                                                                                              between Stanadyne LLC and Diesel Forward, Inc.

                                                                                                                              Stanadyne Central Distributor Agreement dated April 1, 2022
                                                                                                                              between Diesel Forward Inc. and Stanadyne LLC
   4. International Engine Intellectual Property Company, LLC       $         88,172.89   Pure Power Technologies, Inc.       Limited Patent License Agreement dated January 29, 2016        January 29, 2016
                                                                                                                              between International Engine Intellectual Property Company,
                                                                                                                              LLC and Pure Power Technologies, Inc.
   5. NAVISTAR, INC                                                 $                 -   Pure Power Technologies, Inc.       Amended and Restated Supply Agreement dated January 1, 2017 January 1, 2017
                                                                                                                              between Navistar Inc. and Pure Power Technologies, Inc., as
                                                                                                                              amended by that certain First Amendment to Amended and
                                                                                                                              Restated Supply Agreement dated October 9, 2018 between
                                                                                                                              Navistar Inc. and Pure Power Technologies, Inc., as amended by
                                                                                                                              that certain Second Amendment to Amended and Restated
                                                                                                                              Supply Agreement dated January 1, 2020 between Navistar Inc.
                                                                                                                              and Pure Power Technologies, Inc., as amended by that certain
                                                                                                                              Third Amendment to Amended and Restated Supply Agreement
                                                                                                                              dated January 1, 2021 between Navistar Inc. and Pure Power
                                                                                                                              Technologies, Inc.
